      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.1 Page 1 of 53




       ANDREW EARL KARSH·
 1                   --
             --- - ---

       1931 Vereda Court
                           --
                                                                                  FILED
 2     EI Cajon, CA 92010
       Tel: (619) 874-9273                                                          MAY 11 2016
 3     Fax: (619) 874-1121
       E!Il/;lil: karsh.andrew@gmail.com                                      CLERK us DISTRICT COURT
 4
                                                                           SOUTHERN DI TRICT OF CALIFORNIA
                                                                           BY                      DEPUTY
 5      ANDREW EARL KARSH
       Plaintiff, In Propria Persona
 6

 7                                            /
                                            ...


                                    UNITED STATES DISTRI9T COURT
 8
                                SOUTHERN DISTRICT OF CALIFORNIA
 9

10      ANDREW.EARL KARSH"                                     )   SODC No:   '16 CV112 9 MMA GS
                                                               )
11
                               Plaintiff,                      )   VERIFIED COMPLAINT FOR
12                                                             )   DECLARATORY JUDGMENT,
                                                               )   INJUNCTIVE RELIEF AND
13     VS.                                                     )   MONETARY DAMAGES;
14
                                            )
                                            ) VIOLATIONS OF THE RICO ACT
15     BANK OF AMERICA, N.A.; COUNTRYWIDE } [RACKETEER INFLUENCE AND
       HOME LOANS, INC; DEUTSCHE BANK,      ) CURRUPT ORGANIZATIONS}
16     AG, DEUTSCHE BANK NATIONAL TRUST ) RICO 18 U.S•• C.SECTION 1962(C)
17
       CO., DEUTSCHE BANK; TRUST CO;        )
       FIDELITY NATIONAL FINANCIAL, INC.;   ) RICO CASE STATf:MENT;
18     MORTGAGE ELECTRONIC REGISTRATION)
       SERVICES (MERS); FIDELITY NATIONAL     ) VERIFICATION OF COMPLAINT;
19     FINANCIAL, INC.; SPECIALTY PORTFOLIO )
20     SERVICES, INC; DOE ENTITIES 1          ) [DEMAND FOR JURY TRIAL}
       THROUGH 10, INCLUSIVE,                 )
21                                            ) CIVIL SUMONS
                        Defendants.           )
22     _ _ _ _ _ _ _ _ _ _ _ _ _ _-') (Injunctive. Relief/RlCO)
23

24                       Plaintiff, ANDREW EARL KARSH, ("Plaintiff) hereby brings his Verified

25   C om plaint in this action against Defendants above-stated for the following causes of
26
     action: FRAUDULENT FORECLOSURE, RACKETERING INDUSTRtSFSAND
27

28
                         VERIFIED COMPLAINT FOR DECi,ARATORY JUDGEMENT AND INJUNCTIVE RELIEF
,
           Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.2 Page 2 of 53




          CURRUPT ORGANIZATIONS (RICO); QUIET TITLE; SLANDER OF TITLE;
     1

     2    CANCELLATION OF INSTRUMENTS; PROMISORY ESTOPPEL; NEGLIGENCE;

     3    NEGLIGENT REPRESENTATION; FRAUD-IN-THE-EXECUTION; VIOLATION OF THE
     4
          FAIR DEBT COLLECTIONS PRACTICES ACT, VIOLATION OF UNFAIR
     5
          COMPETITION LAW (UCL) BUSINESS & PROFESSIONS CODE (SECTION 17200)
     6

     7
          UNFAIR BUSINESS PRACTICES; DECLARATORY JUDGEMENT; AND INJUNCTIVE

     8    RELIEF, pursuant to the Homeowners Bill of Rights, Dodd-Frank Act and the Consumer

     9    Financial Protection Bureau's "New Servicing Rules" and other California foreclosure
    10
          laws.
    11
                        Additionally, Plaintiff has tort claims for monetary damages for Plaintiffs
    12

    13    actual costs to bring suit as well as punitive, compensatory and general money

    14    damages in the amount of the accrual of the mortgage debt. as well as other monetary
    15
          damages to be shown according to proof or to be proven at jury trial.
    16

    17
                                                       PARTIES
    18

    19            1.    Plaintiff is an individual and at all time relevant herein is/was a citizen and

    20,   resident of the State of California, in the Southern District of California. At all times
    21
          relevant herein Plaintiffs principal place of business and residence was/is 1931 Vereda
    22
          Court, EI Cajon, CA 92010. Hereinafter "Subject Property."
    23
                  2.    Defendant BANK OF AMERICA, NA, (hereinafter "Defendant BOA") is a
    24

    25    publicly traded corporation organized under the laws of De.laware and with it principle

    26    place of business and headquarters in Charlotte, North Carolina, and is a national bank
    27

    28
                         VERIFIED COMPUlINT FOR DECUIRATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.3 Page 3 of 53




     organized and existing as a national association under the National Bank Act, 12
 1

 2   U.S.C. §§ 21.

 3          3.     Defendant COUNTRYWIDE HOME LOANS, INC., (hereinafter
 4
     "Defendant COUNTRYWIDE"). In 2008, Bank of America, NA purchased the failing
 5
     Countrywide Financial for $4.1 billion, with its principal place of business located in
 6
     Van Nuys, California.
 7

 8          4.     Defendant DEUTSCHE BANK NATIONAL TRUST COMPANY AS

 9   TRUSTEE FOR CERTIFICATE HOLDERS OF THE MORGAN STANLEY HOME
10
     EQUITY LOAN TRUST 2007-1, MORTGAGE PASS-THROUGH CERTIFICATES
11
     SERI ES 2077-1. (hereinafter "Defendant DBTC") in the business of mortgage-
12

13   backed securities and operates as a subsidiary of Deutsche Bank Holdings, Inc.,

14   with its principal place of business located in Los Angeles, California.
15
            5.     Defendant FIDELITY NATIONAL FINANCIAL, INC., (hereinafter
16
     "Defendant FNF") is a publicly traded corporation organized under the laws of
17

18   Delaware and with its principle place of business headquartered in Jacksonville,

19   Florida. Defendant FNF is the largest provider of title insurance in America,
20
     technology and transaction services computer software to the real estate and
21
     mortgage industries.
22

23
           6.      Defendant FNF also provides industry-leading mortgage technology

24   solutions and transaction services software known as "Fidelity MSP", the leading

25   residential mortgage servicing technology software platform used in loan servicing in
26
     the U.S., as well as a software platform commonly known as "FORTRAC" the same
27

28
                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.4 Page 4 of 53




     system used to unlawfully charge erroneous fees to Plaintiff account which were not
 1

 2   disclosed in the Truth-In-Lending disclosures or any other disclosures to Plaintiff

 3   while in escrow or authorized under deed of trust.
 4
            7.     Defendant MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
 5
     INC., (hereinafter "Defendant MERsn) is a publicly traded corporation organized under
 6
     the laws of the State of Virginia. MERS is a separate and distinct corporation that
 7

 8   serves as a nominee on mortgages and is owned by a holding company called

 9   MERSCORP Holdings, Inc., which owns and operates an ELECTRONIC
10
     REGISTRATION SYSTEM known as the MERS system designed to track servicing.
11
     rights and ownership. of mortgages in the United States doing business in California
12

13   with its principle place of business and headquarters in Reston, Virginia,

14           8.     Defendant SELECT PORTFOLIO SERVICES, INC (hereinafter
15
     "Defendant SMS") was/is a California Corporation with its principal place of business
Hi
     located in Van Nuys, California. Formerly known as Fairbanks Capital Inc. In
17
     November 2003, Fairbanks was fined $40 million by the Departmentof Housing and
18

19   Urban Development. The Federal Trade Commission fined Fairbanks for "unfair,

20   deceptive, and illegal practices" in their mortgage loan servicing of sub-prime mortgage
21
     loans.. ". Now doing business as Select Portfolio Services, Inc.
22
                                 Doe. Entities 1 ThrQugh     to . l.ncIU$jve
23

24
            9.     Whenever reference is made herein to any act, deed, or conduct of

25   Defendants committed in connection with the enterprise, the allegation means that

26   Defendants engaged in the act,deed, or conduct by or through one or more of their
27

28
                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.5 Page 5 of 53




     officers, directors, agents, employees or representatives, each of whom was actively
 1

 2   engaged in the management, direction, control or transaction of the ordinary business

 3   and affairs of Defendants and the enterprise.
 4
            10.     Plaintiff is informed and believes, and based thereon allege that, at all
 5
     material times relevant herein, Defendants, each of them (hereinafter collectively
 6
     "Defendants ") was/were the agent, servant, or employee of, and acted within the
 7

 8   purpose, scope, and course of said agency, service, or employment; and with the

 9   express and/or or implied knowledge, permission, and consent of the other defendant,
10
     and ratified and approved the acts of the other defendants.
11
              11.       Plaintiff further is informed and believes, and on that basis, allege
12

13   that, at all material times herein, each defendant collectively, was the agent, servant, or

14   employee of the other defendants, and acted within the purpose, scope, and course of
15
     said agency; service, or employment, and with the express or implied knowledge,
16
     permission, and consent of the other defendants, and ratified and approved the acts of
17
     the other defendants, without limitations.
18

19                     FACTUAL ALLEGATIONS AGAINST ALL DEFENDANTS

20
            12.     Plaintiff owns property in San Diego, California (hereinafter "subject
21
     property"). In October of 2006, Plaintiff obtained an interest-only, adjustable-rate
22

23   mortgage on the subject property for $735,000.00 from Accredited Home Lender's,

24   Inc., who has since then dissolved in a Chapter 11 Bankruptcy.
25
            11.     Because of the constant increases in the monthly payment, the loan
26
     became unaffordable. [Iln the Spring of 2008, Plaintiff's mortgage payments jumped
27

28
                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.6 Page 6 of 53




     from $5,548.56 to $8,811.92. And the loan amount since then has almost doubled from
 1

 2   $735,000.00 to the current amount of the $1 ,398,000.00 due to late fees, penalties,

 3   loan servicing fees and skyrocketing interest rates.
 4
                  12.     Plaintiff has consistently demonstrated his desire to end the
 5

 6   dispute in good faith to receive reinstatement of his mortgage, and has attempted on

 7   numerous occasions to negotiate throughout the time in default with Defendant BOA,
 8
     Countrywide and other "taker-entities" such as BAC Home Lenders, Inc., Recontrust
 9
     Company, Inc., Home Retention Group, Inc., Quality Home Lenders, Inc., who were all
10
     at one point or another --involved then not involved, then involved again, between 2008
11

12   and 2015.

13
            13.    Plaintiff' has been the owner of the Subject Property for over thirty-five
14
     (35) years, located in City and County of San Diego, Southern District of California.
15

16
     Subject Property is commonly known as 1931 Vereda Court, EI Cajon, California

17   92019. San Diego County Recorder's ParcellD Number 517-111-52-00. As of May of

18   2016, the Subject Property was estimated to be worth approximately $740,000.00.
19
     Attached hereto as Exhibit "A" is a true and correct copy of the on-line web page
20
     identified as TRUILA Estimate reflecting the current market value.
21

22          14.    On October 27,2006, Plaintiff incurred a consumer debt in the amount of
23
     $735,000.00 of which was funded by creditor and loan originator Defendants
24
     ACCREDITED. Attached hereto as Exhibit "B" is a true and correct copy of the original
25
     DEED OF TRUST and NOTE evidencing the debt was recorded on October 28, 2016.
26

27

28
                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.7 Page 7 of 53




     Attached hereto as Exhibit "8" is a true and correct copy of the original Deed of Trust
 1

 2   and Note.

 3
             15.     On June 14, 2011, the deed of trust was then assigned to DEUTSCHE
 4
     8ANK NATIONAL TRUST COMPANY AS TRUSTEE FOR CERTIFICATE HOLDERS
 5

 6   OF THE MORGAN STANLEY HOME EQUITY LOAN TRUST 2007-1, MORTGAGE

 7   PASS-THROUGH CERTIFICATES SERIES 2077-1. Attached hereto as Exhibit "C" is a
 8
     true and correct copy of the original Assignment of Deed of Trust recorded on June 14,
 9
     2016.
10

11           18.   With regard to Defendant MERS being part robotic artificial intelligence

12   and not a natural person rather The latest court decisions in California occurred on May
13
     20,2010, in a bankruptcy case identified as: In re Walker, Case no. 10-21656-E-11.
14
     The court held that Defendant MERS could not foreclose because it was a mere
15

16
     "nominee", and that as a result, Plaintiff "Citibank" could not collect on its claim. The

17   judge opined:
18
           "Since no evidence of MERS' ownership of the underlying note has been offered,
19       and other courts have concluded that MERS does not own the under/ying notes,
         this court is convinced that MERS had no interest it could transfer to Citibank.
20
         Since MERS did not own the underlying note, it could not transfer the beneficial
21       interest of the Deed of Trust to another. Any attempt to transfer the beneficial
         interest of a trust deed without ownership of the underlying note is void under
22       California law. "
23
             19.     Since the foreclosing parties in Plaintiff's case cannot establish that they
24
     are the owner of the promissory note and a holder in due course secured by the trust
25
     deed it is in every respect a fraudulent foreclosure. In fact, none of the Defendants
26

27   named herein are able to assert a claim for payment or foreclose. Accredited Home

28
                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.8 Page 8 of 53




     Lender,s Inc., did not lawfully transfer its authority to foreclose as required by federal
 1

 2   and state laws governing all assignments to investment trusts like Defendant DBTe.

 3
            20.    The alleged "AsSignment" to Defendant DBTe is fraudulent and
 4

 5   oppressive in nature and is in direct contravention to recent foreclosure laws and

 6   federal statutes. Defendant MERS is stated to be the NOMINEE only. Defendant
 7
     MERS electronically titles then robotic-ally assigns mortgages like Plaintiff's deed of
 8
     Trust and Note to investment trusts like Defendant DBTe. This case exposes the
 9

10   fraudulent abuse of loan servicers like Defendant BOA extracting millions from

11   distressed homeowners by electronically charging erroneous default-related loan
12
     servicing fees and other concealed fees and penalties that are all unreasonable,
13
     unnecessary, fraudulent and oppressive in nature, and not authorized under the
14
     recorded Deed of Trust or Note instruments. This type of corporate financial
15

16   racketeering being non-human actions and based upon cyber-technology and to a

17   certain degree of artificial intelligence that Defendants, individually or as an industry
18
     could not be held liable for what could be claimed as a "computer glitch" to wiggle their
19
     way out of palpable liability. However, Plaintiff certainly can have Defendants named
20
     herein held accountable to Plaintiff and this court of law
21

22
            21.    Because the fact that the MSP software program used [is] the actual
23

24
     instrument used by Defendant BOA facilitated the fraudulent fees and charges

25   accessed. Plaintiff alleges that Defendant FNF are the provider of a program that

26   systematically defrauds homeowners by providing a software program that makes it
27

28
                    VERIFIEO COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.9 Page 9 of 53




     possible for loan servicer's like the Defendants named in this lawsuit and others to
 1

 2   charge hidden fees, penalty and loan service fee's unabated, unrestrained, and

 3   operate without accountability and with impunity. Defendant FNF has an enhanced
 4
     fiduciary duty as the holder of the title insurance policy on Plaintiff's residence, as they
 5
     are also liable to Plaintiff for the injuries sustained by Plaintiff as a direct result of the
 6

 7
     use of Fidelity MSP software platform.

 8
            22.    This action is taken as a result of the fraudulent and misleading practices
 9

10   committed by the Defendants BOA and FNF in correlation to their home mortgage loan

11   servicing businesses. Defendants BOA service almost 20 million loans throughout the
12
     United States, controlling 25% of the entire loan servicing Industry.
13

14          23.     By means of an automated mortgage loan servicing management system
15
     and and enterprise of "taker-entities" or subsidiaries and elaborate inter-company
16
     departments and divisions, Defendants BOA have engaged in a scheme to fraudulently
17
     conceal their unlawful assessment of improperly marked-up or unnecessary fees for
18

19   default-related services, cheating borrowers already in distress like Plaintiff who can

20   least afford it. When Plaintiff got behind on his payments and went into default,
21
     Defendants conducted various default-related services on Plaintiff's account,
22
     purportedly designed to protect the original lender's and/or investor's interest in the
23

24
     property. However, neither original lender's and/or investor's are permitted to mark-up

25   the fees for such services to earn a profit. Nor are Defendants permitted to assess

26   Plaintiff's account for default-related service fees that are unreasonable and
27

28
                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.10 Page 10 of 53




     unnecessary as they have done with impunity to twenty million distressed
 1

 2   homeowners.

 3
            24.    More specifically, Defendants BOA, under false pretenses materially
 4

 5   concealed the truth from Plaintiff --and that is precisely what Defendants did to, in

 6   effect,generate for themselves huge profits from unlawfully accessing default-related
 7
     service fees to distressed homeowners like Plaintiff. Defendants BOA have merely
 8
     substituted inflated interest rates with inflated default-related service fees.
 9

10
            25.    Defendants BOA formed various enterprises such as BAC Home Lenders,
11
     Inc., Recontrust Company, Inc., Home Retention Group, Inc., Quality Home Lender,
12

13   Inc.,[associations of subsidiaries and affiliated companies] were designed to disguise

14   through conversion the hidden marked-up fees, and superfluous fees so that they could
15
     earn even more undisclosed profits. Through these unlawful enterprises, Defendants
16
     BOA mark-up the fees charged by vendors, often by 100% or more, and then, without
17
     disclosing the mark-up, assess borrowers' accounts like Plaintiff's account for the
18

19   hidden fees and penalties for huge profits.

20          26     In connection with their fraudulent schemes, Defendants BOA have a
21
     practice of routinely assessing fees for default-related services, even when they are
22
     entirely unnecessary and clearly inappropriate. By deploying this tactic, Defendants
23

24
     BOA are able to quietly and clandestinely earn huge profits from default-related service

25   fees --at the expense of distressed homeowners like Plaintiff.

26

27

28
                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.11 Page 11 of 53




            27.    Plaintiff reasonably believed that the lender from whom she obtained her
 1

 2   mortgage will hold and service her loan until it is paid off. Instead, through relatively

 3   recent mortgage-industry practices, such as securitization and the sale of mortgage-
 4
     backed securities, that is often not the case. In today's market, loans and the rights to
 5
     service them are bought and sold at will, multiple times over in a single year.
 6

            28.    Because banks like Defendants BOA who service loans do not profit
 7

 8   directly from interest payments made by borrowers, rather than ensuring that borrowers

 9   stay current on their loans, Defendants BOA are more concemed with generating
10
     revenue from fees assessed against the mortgage accounts they service. Borrowers
11
     like Plaintiff are captives to companies like Defendants who service his mortgage loan.
12

13          29.    Accordingly, when borrowers go into default and Defendants BOA

14   unilaterally.decide to perform default-related services, borrowers have no option but to
15
     accept Defendants' choice of providers. Taking advantage of these circumstances,
16
     Defendants formed enterprises with their respective subsidiaries and affiliates, and
17
     then, developed a uniform practice of unlawfully marking up default-related service
18

19   fees .. Banks like Defendants BOA saw opportunity where investors saw failure

20   because charges assessed against borrowers' accounts so that Defendants BOA alone
21
     could earn undisclosed profits in connection with loan servicing. Defendants BOA
22
     marked-up fees violate Plaintiff's mortgage agreement because the fees exceed the
23
     actual cost of the services, and therefore, they are not, as the mortgage agreement
24

25   requires, "reasonable" or "appropriate" to protect the note holder's and/or investor's

26   interest in the property.
27

28
                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.12 Page 12 of 53



     marked-up fees violate Plaintiff's mortgage agreement because the fees exceed the
 1

 2   actual cost of the services, and therefore, they are not, as the mortgage agreement

 3   requires, "reasonable" or "appropriate" to protect the note holder's and/or investor's
 4
     interest in the property.
 5
            30.    Defendants BOA are aware that it is improper to mark-up the fees
 6
     assessed on borrowers' accounts for default-related services, as they did on Plaintiff's
 7

 8   account. Therefore, Defendants fraudulently concealed these fees on Plaintiff's

 9   account, omitting any information about Defendants' additional profits, by identifying
10
     them on mortgage statements only as "Other Charges," "Other Fees," "Miscellaneous
11
     Fees," or "Corporate Advances."The rampant abuses by mortgage servicers like
12

13   Defendants BOA, has led federal regulators to enter into numerous Consent Orders,

14   but according to Mark Pearce, Director, Division of Depositor and Consumer
15
     Protection, Federal Deposit Insurance Corporation, "these consent orders do not fully
16
          identify and remedy past errors in mortgage-servicing operations of large
17
     institutions; in fact, the scope of the inter-agency review did not include a review of ...
18

19   the fees charged in the servicing process. Much work remains to identify and correct

20   past errors and to ensure that the servicing process functions effectively, efficiently, and
21
     fairly going forward. Plaintiff brings this action seeking injunctive relief and damages
22
     who has been victimized by the Defendants' uniform schemes. America's lending
23
     industry is in disorder and chaos. Many of the current problems in the industry derive
24

25   from the fact that the lending community has divorced itself from the borrowers it once

26   served. Traditionally, when people wanted to borrow money, they went to a bank or a
27
     "savings and loan." Banks loaned money and borrowers promised to repay the bank,
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.13 Page 13 of 53



     with interest, over a specific period of time. The originating bank kept the loan on its
 1

 2   balance sheet, and serviced the loan, processing payments, and sending out

 3   applicable notices and other information, until the loan was repaid. The originating bank
 4
     had a financial interest in ensuring that the borrower was able to repay the loan. Today,
 5
     however, the entire process has changed significantly. Mortgages are now packaged,
 6
     bundled, and sold to investors on Wall Street through what is referred to in the financial
 7

 8   industry as mortgage backed securities or MES. Defendants BOA now enjoy the

 9   financial benefits of immediately being able to recover the amounts loaned by way of
10
     default-related service fees.
11
             31.       Numerous unexpected consequences have resulted from the divorce
12

13   between lenders and borrowers that should have been disclosed in the TILA notice

14   signed in escrow. Including, but not limited to, securitization has created an industry of
15
     companies in the lending servicing industry like Defendants DBTC, who no longer
16
     make money primarily from interest on the loans they scrutinized. Defendant BOA,
17
     DBTC and SPS no longer have a financial interest in the repayment of loans or
18

19   modification or reinstatement of the mortgage that they once did. Instead, banks like

20   Defendants BOA service mortgages for hedge funds and investment houses who own
21
     the loans and no interest in anything but foreclosure to realize a profit.
22
            32.    Rather than earning income from the interest on these loans, banks like
23
     Defendant BOA have chosen to make even more profits by accessing default-related
24

25   loan servicing fees on top of milking the government and title insurance for profits.

26   Defendant BOA are paying themselves for their loan servicing in a manner that clearly
27
     should have been disclosed at escrow signing. Additionally, under agreements with
28



                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.14 Page 14 of 53



     trust investors (pooling and service agreements), loan servicers like Defendants BOA
 1

 2   believes they are entitled to assess fees on borrowers' accounts like Plaintiff's account

 3   for default-related services in connection with their servicing of Plaintiff's loan. These
 4
     fees for example include Broker's Price Opinion fees, and appraisal fees. Defendants'
 5
     collection of these fees, however, exemplifies how America's lending industry has run
 6

 7
     off the rails charging default-related service fees while is receiving unwarranted

 8   government proceeds at tax payers.

 9          33.    As the Board of Governors of the Federal Reserve System has admittedly
10
     stated, "[ w ]hile an investor's financial interests are tied more or less directly to the
11
     performance of a loan, the interests of a third-party servicers are tied to it only
12

13   indirectly, at best. The servicers makes money, to oversimplify it a bit, by maximizing

14   fees earned and minimizing expenses while performing the actions spelled out in its
15
     contract with the investor.... The broad grant of delegated authority that servicers enjoy
16
     under pooling and servicing agreements (PSAs), combined with an effective lack of
17
     choice on the. part of consumers, creates an environment ripe for abuse." For banks
18

19   like Defendants BOA, and all of it's "taker-entity" subsidiaries designed and formed to

20   operate in a mechanized manner foreclosing as just a disclosed natural cycle of
21
     mortgage debts they concealed from Plaintiff when securing the subject mortgage debt.
22
          Defendants BOA actually believe they have a legal right to charge exorbitant fees
23
     for loan servicing that is nothing short of blatant exploitation. As a result of the
24

25   disassociation between loan servicers and the monies generated from the interest

26   borrowers pay on their loans, Defendant BOA have been incentivized to find other
27
     ways to grow their profits. Defendants FNF automated loan servicing practices that
28




                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.15 Page 15 of 53



     make it possible for Defendant BOA to access these unlawful charges with impunity.
 1

 2   Defendant BOA services approximately 20 million loans throughout the United States.

 3   To maximize profits, Defendants BOA assign the complex task of administering these
 4
     ml11ions of loans to computer software products made by Defendant !=N!=. Defendants
 5
     working together automated their loan servicing businesses a way to realize huge
 6

 7
     profits through a computer software program designed and provided by Defendant

 8   FNF. The program is known as a mortgage servicing package called Fidelity MSP or

 9   FORTRACS. Fidelity MSP or FORTRAC is a sophisticated home loan management
10
     software program co-designed and used by Defendant BOA on Plaintiff's mortgage
11
     account, and is one of the most widely used loan servicing software PLATFORM in the
12

13   United States. When Plaintiff's loan was originated, guidelines for managing her loan

l4   was imported into Fidelity MSP, along with 20 million other loans serviced by
15
     Defendants. Plaintiff's loan was then automatically managed by the Fidelity MSP
16
     software program according to Defendant BOA's dilatory guidelines. For example, inter
17
     alia, if a loan {Plaintiff's] in Defendants' systems is past due, the guidelines instruct the
18

19   computer when to impose late fees. Defendants also assess other charges and fees

20   against borrowers' accounts by using "wrap around" software packages that work with
21
     the Fidelity MSP System. It is this system that was used by Defendants on Plaintiff's
22
     account Based on parameters inputted into these programs, Defendants' BOA
23
     computer systems automatically implement decisions about how to manage borrowers'
24

25   accounts, including Plaintiff's account, based on internal software logic. The program

26   was designed to manage the modification application process and places accounts in-
27
     default like Plaintiff's' account and assess fees, according to a protocol designed by the
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.16 Page 16 of 53



     executives at Defendant BOA and The Fidelity MSP software. To manage loans in
 1

 2   default, they also use a software program called "FORTRACS." FORTRACS

 3   automates default management processing, decisioning and documentation of a loan.
 4
     With fully integrated modules and synchronization of activities, It supports the lender's
 5
     credit and collateral risk management through loss mitigation, foreclosure processing.
 6

 7
            34.    Plaintiff is informed and believes, and based thereon, allege that as part

 8   of the Defendants enterprises' efforts to conceal the extent of their activities,

 9   Defendants also program their computer systems to automatically remove from
10
     account statements submitted in court proceedings, some of the fees and charges
11
     typically assessed against borrowers accounts because they have been prohibited by a
12

13   particular jurisdiction or judge within a jurisdiction. In their loan servicing operations,

14   Defendants follow a strategy to generate fraudulently concealed default-related fee
15
     income. Rather than simply obtain default-related services directly from independent
16
     third-party vendors, and charge borrowers for the actual cost of these services, then
17
     Defendant BOA assess borrowers' accounts for services that are unnecessary and
18

19   they unlawfully add additional, undisclosed profits on to the charges before they are

20   assessed on borrowers' accounts.
21
            35.    Defendants' scheme works as follows. Defendants order default-related
22
     services from their subsidiaries and affiliated companies, who, in turn, obtains the
23
     services from third-party vendors. The third-party vendors charge Defendants for their
24

25   services. Defendants, in turn, charge borrowers a fee that is significantly marked-up

26   from the third-party vendors' actual fees for the services. Asa result, even though tne
27
     mortgage market has collapsed, and more and more borrowers are falling into
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.17 Page 17 of 53



      delinquency, Defendants continue to earn substantial profits by assessing undisclosed,
 1

 2    marked-up fees for default-related services on borrowers' accounts. The mortgage

 3    contract between a lender and a borrower consists of two documents: the promissory
 4
      note ("Note") and the mortgage or deed of trust ("Security Instrument"). The mortgage
 5
     . contacts serviced by Defendants are substantially similar because they conform to the
 6

 7
      standard FannieMae/Freddie Mac form contract. These contracts contain form

 8    language regarding what occurs if borrowers default on their loans. The Security

 9    Instrument authorizes the loan services', in the event of default, to: pay for whatever is
10
      reasonable or appropriate to protect the note holder's interest in the property and rights
11
      under the security instrument, including protecting and/or assessing the value of the
12

13    property, and securing and/or repairing the property.

14           36.   The Security Instrument further provides that any such amounts
15
      disbursed by the loan servicer and shall become additional debt of the borrower
16
      secured by the Security Instrument and shall bear interest at the Note rate from the
17
      date of disbursement. The Note provides that the note holder: will have the right to be
18

19    paid back by [the borrower] for all of its costs and expenses in enforcing this Note to

20    the extent not prohibited by applicable law. Those expenses include, for example,
21
      reasonable attorneys' fees. Thus, the mortgage contract allows the loan servicer to pay
22
      for default-related services when necessary or appropriate, and to be reimbursed by
23
      the borrower, but it does not authorize the loan servicer' to mark -up the actual cost of
24

25    those services to make a profit. Broker's Price Opinions ("BPOs") are a significant

26    category of default- related service fees that, in furtherance of Defendants' unlaWful
27

28




                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.18 Page 18 of 53



     enterprises, are assessed on borrowers' accounts with substantial, undisclosed mark-
 1

 2   ups, fraudulently generating revenue in the loan servicing business.

 3          37.     As discussed above, by charging marked-up fees for BPOs, Defendants
 4
     BOA violate the agreements with borrowers because, among other things, charges that
 5
     exceed the actual cost of the services provided are neither reasonable, nor appropriate
 6

 7
     to protect the note holder's interest in the property and the rights under the security

 8   instrument.

 9          38.     Furthermore, the wrongful nature of the marked-up fees is demonstrated
10
     by the fact that Defendants do not disclose to borrowers that the fees assessed on their
11
     accounts are marked-up borrowers' accounts in amounts ranging from $95 to $135,
12

13   under Fannie Mae guidelines, the maximum reimbursable rate for an exterior BPO is

14   $80,70 and in practice, the actual cost is much less. According to the National
15
     Association of BPO Professionals, the actual cost of a SPO may be as little as $30.00.
16
                         Practices Specific to the FNF/BOAISPS Enterprise
17
                               (Defendant BOA and its subsidiaries)
18

19          39.     Defendant BOA, and its subsidiaries, BAC Home Lender, Inc., Home

20   Retention Group, Inc., and Quality Home Lender, Inc., Doe entities 1 through 10,
21
     formed an enterprise and devised a scheme to defraud borrowers and obtain money
22
     from them by means of false pretenses. According to Defendants BOA 2010 Annual
23
     Report, "[w]hen it becomes likely that a borrower is either unable or unwilling to pay,
24

25   the firm obtains a broker's price opinion of the home based on an exterior only

26   valuation ".
27

28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
         Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.19 Page 19 of 53



                40.    . Plaintiff is informed and believes, and on that basis, alleges that using its
 1

 2       computerized automated mortgage loan management system and an enterprise of

 3       Defendant BOA's subsidiaries and inter-company departments and divisions,
 4
         Defendant BOA unlawfully charges marked-up fees for default-related services.
 5
         Furthermore, to fraudulently conceal its actions and mislead borrowers like Plaintiff
 6
         about the true nature of its actions, Defendant BOA employs a corporate practice that
 7

 8       omits true nature of the fees that are being assessed on borrowers' accounts like

 9       Plaintiffs account.
10
                 41.    Plaintiff is informed and believes, and on that basis, alleges that
11
         Defendant BOA conceals these marked-up fees for default-related services on
12

13       borrowers accounts, by identifying the charges only as "Miscellaneous Fees,"

14   .   "Corporate Advances," "Other Fees," or "Advances" on borrowers' statements.
15
         Defendant BOA also assesses unnecessary and unreasonable fees for property
16
         inspections. In order to generate profits from these fees, Defendant BOA's automated
17
         loan servicing system is set up to order property -inspections and assess fees against
18

19       borrowers when they are a certain number of days late on their mortgage, regardless of

20       whether the assessment of such fees is appropriate, reasonable, or necessary under
21
         the circumstances.
22
                 42.     Although such inspections purportedly are conducted to guard against
23
         property loss, Defendant BOA's practices are designed to ensure that these fees are
24

25       charged to as many accounts as possible, even if the inspections are inappropriate,

26       unnecessary, or unreasonable.
27

28



                        VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.20 Page 20 of 53



             43.     Plaintiff is informed and believes, and on that basis, alleges that
 1

 2   guidelines inputted into Defendant BOA's loan management software system

 3   automatically trigger property inspections if a loan is past due by a certain number of
 4
     days. After a borrower's account is past due by a set number of days, as inputted into
 5
     the software, Defendant BOA's computer automatically generates a work order for a
 6
     property inspection automatically, and without human intervention. Moreover, so long
 7

 8   as a borrower's account is past due by the requisite number of days inputted into the

 9   loan management software, Defendant BOA's system automatically continues to order
10
     inspections, regardless of whether it is reasonable or appropriate under the
11
     circumstances. Plaintiff is informed and believes, and on that basis, alleges that even if
12

13   the property inspections were properly performed and actually reviewed by someone at

14   the bank, Defendant BOA continuous assessment of fees for these inspections on
15
     borrowers accounts is still improper and unreasonable because of the frequency with
16
     which they are performed. If the first inspection report shows that the property is
17
     occupied and in good condition, it is unnecessary and inappropriate for Defendant
18

19   BOA's system to automatically continue to order monthly inspections. Nothing in the

20   reports justifies continued monitoring. In order to further lull borrowers into a sense of
21
     trust, conceal Defendant BOA's unlawful fees, and dissuade borrowers from
22
     challenging Defendant BOA s unlawful fee assessments, Defendant BOA falsely
23
     represents on statements provided to borrowers that "Other Fees" and "Advances,"
24

25   which are charges for BPOs and property inspections, include "amounts allowed by

26   [borrowers'] Note and Security instrument.
27

28



                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.21 Page 21 of 53



          Plaintiff's Injuries From Defendants' Unlawful Business Practices
 1

 2          44.    In addition to the direct monetary damages caused to Plaintiff, in the form

 3   of the difference between the actual cost of the services provided and the marked-up
 4
     fees assessed on Plaintiff' account, Plaintiff suffer other, less obvious injuries as a
 5
     result of the practices described. After paying delinquent principal and interest, there is
 6

 7
     not enough to cover the entire monthly payment. This makes that payment late,

 8   creating a cascade of more fees, and more arrears, that keeps Plaintiff in delinquency.

 9

10          45.    By the time Plaintiff was aware, Defendants Defendant BOA were

11   threatening to foreclose unless a huge payment was made,         ana the weight of these
12
     unnecessary fees drops Plaintiff into a financial abyss.
13

14          46.    As a result of Defendants' practices, which force borrowers to move
15
     deeper into default, borrowers suffer damage to their credit score. Defendants
16
     Defendant BOA provide information about borrowers' payment history to credit
17
     reporting companies, including whether they have been late with a payment or missed
18

19   any payments. By keeping borrowers in default with these practices, Defendants affect

20   whether borrowers can get a loan in the future - and what borrowers' interest rate will
21
     be on such loans.
22

23          47.    The assessment of these marked-up fees can make it impossible for
24
     Plaintiff to become current on his loan. Charges for default·related services can add
25
     hundreds or thousands of dollars to borrowers' loans over time, driving Plaintiff further
26

27   into default. When Plaintiff got behind on his mortgage, and fees for these default-

28   related services are stacked on to the past-due principal and interest payments,



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.22 Page 22 of 53



     Defendants practices make it increasingly difficuU for Plaintiff to ever bring his loan
 1

 2   current. Even if Plaintiff was to pay the delinquent principal and interest payments, the

 3   marked-up fees for default-related services ensure that Plaintiff stays in default.
 4

 5          48.    As a result of the unlawful business practices above-described,

 6   Defendants BOA and FNF are both responsible and should be held accountable for
 7
     creating and using a program that its only purpose is to unjustly enrich bank's like
 8
     Defendant BOA and its subsidiaries -Not only because they jointly developed he
 9

10   software program "Fidelity MSP" or "FORTRAC" but also because Defendant FNF

11   knew or should have known, that it would lead to fleecing homeowners already in
12
     financial despair. Defendants BOA and FNF created the platform for theft for
13
     Defendants BOA's Loan Servicing Agents Defendant SPS to literally and deliberately
14
     deceive Plaintiff every step of the way.
15

16
           .49.    In the interest of justice Defendant FNF should be held to the rule of law.
17
     The fact of the matter [is) that Defendant FNF holds every title insurance policy in
18

19   America and/or every title insurance policy is underwritten by Defendant FNF -this fact

20   should not be overlooked as incidental. The pervasive nature of Defendant FNF's "all-
21
     access" to unsuspecting homeowners should set off alarms to the glaring conflict of
22
     interest
23

24
            50.    Any applicable statutes of limitations have been tolled by Defendants'
25
     knowing and active concealment, denial, and misleading actions, as alleged herein.
26

27   Plaintiff was kept ignorant of critical information required for the prosecution of their

28



                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.23 Page 23 of 53



     claims., witho.ut any fault or lack .ofdiIIgenc.e .onhi:>pan.
                                                               .   Plaintiff could
                                                                                 . not reasonably
                                                                                            . .
 1                                                              - -                               -




 2   have discovered the true nature of the Defendants' marked-up fees scheme.

 3

 4
            51.       Defendants are/were under a continuous duty to fully disclose to Plaintiff

 5   pursuant to TILA, RESPA, HBOR and HOEPA the true character, quality, and nature of

 6   the fees they assess on Plaintiffs account Defendants knowingly, affirmatively, and
 7
     actively concealed the true character, quality, and nature of their assessment of
 8
     marked-up fees against Plaintiff's account. Plaintiff reasonably relied upon Defendants'
 9

10   knowing, affirmative, and active concealment. Based on the foregoing, Defendants are

11   estopped from relying on any statutes of limitation as a defense in this aetiefl.
12

13          52.       As a result of Defendant BOA's fraudulent concealment of material facts,

14   Plaintiff was prevented from doing anything but send them his Qualified Written
15
     Request ("QWR") which went unanswered. Plaintiff did not discover, and could not

     have. discovered, through the exercise of reasonable diligence, the true nature of the
17
     utHaWfiJl fees assessed againsf het ac.c.ounf. Legal scnolais nave explaiiied thaI;              as a
18

19   result of these deceptive practices, it [is] impossible for borrowers to determine that

20   they are victims of these violations, because without a true       itemi.~ation   that identifies
                                                                .'.-.       .I)
21
     the nature of each fee, parties cannot verify that a     mortga~"cl~im is correctly
22
     calculated- ".
23

24
            53.       Plaintiff alleges the Defendant BOA and Defendant SPSas the Loan
25
     Service Agent were overreaching and charging Plaintiff fees that are not permitted by
26

27   law or by the terms of the contract.

28




                      VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.24 Page 24 of 53




 1
            54,      By obsc.uring iheinfgrmfltign n~~gElg t() (jetermine the alleged basis for

 2   the charges, servicers thwart effective review of mortgage claims. The system only

 3   functions as intended if complete and appropriate disclosures are made. {T]hiswas the
 4
     true intent of the Truth-in-Lend ing Act.
 5

 6       California's Homeowner Bill of Rights & Nonjudicial Foreclosure Laws
 7

 8           55.      In July 2012, California Governor Jerry Brown signed the Homeowner
 9
     Bill of Rights (HBOR). This landmark legislation was created to combat the foreclosure
10
     crisis and hold banks accountable for exacerbating it. HBOR became effective on
11
     January 1, 2013, on the heels of the National Mortgage Settlement. The U.S.
12

13   Department of Justice, HUD, and state attorneys general filed claims against

14   Defendant BOA for deceptive and wrongful foreclosure practices. See Complaint at 21-
15
     39, United States v. Bank of Am., No.1 :12-cv-00361-RMC (D.D.C.).
16
                   Defendant SPS Violated "Pre-NOD Outreach" Requirements
17
           56.       HBOR continued the existing requirement that a loan servker may not
18

19   record a notice of default (NOD) until 30 days after contacting,or diligently attempting to

20   contact, the borrower to discuss alternatives to foreclosure. Defendant SPS failed to do
21
     either. Defendant did not even attempt to contact Plaintiff.
22
           57.      Instead, Plaintiff was sent letters which Plaintiff followed up and calling
23

24
     Defendant SPS about their correspondence and was told on numerous occasions

25   mislead with false information that was clearly contradictory to the correspondence
26   received. Because the statute requires the loan servicer to initiate specific contact,
27

28




                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.25 Page 25 of 53



     Plaintiff's borrower-initiated loan modification inquiries, or general contact, does not
 1

 2   satisfy the pre-NOD contact requirements of HBOR.

 3            58.         HBOR's pre-NOD outreach requirements expand upon existing
 4
     communication requirements. For example, the former Civil Code Section 2923.5 only
 5
     applied to deeds of trust originated between 2003 and 2007. HBOR removed this time
 6

 7
     limitation. Plaintiff brings his claims under the pre-HBOR law. HBOR requires a

 8   number of additional outreach requirements. Defendant SPS met not even one of

 9   these requirements with Plaintiff. These servicers must alert borrowers that they may
10
     request documentation demonstrating the servicer's authority to foreclose. Defendant
11
     SPS failed again to do so with Plaintiff. They are also required to provide post-NOD
12

13   outreach if the borrower has not yet exhausted the loan modification process. In

14   Plaintiff's case, after the NOD was posted, Defendant SPS continued to Dual-Track
15
     Plaintiff and continued deceiving Plaintiff with misinformation. The conduct of
16
     Defendant SPS does violence to the HBOR statute.
17
                              "Single Point of Contact" Violations
18

19          59.     Defendant BOA and SPS was required to provide Plaintiff with a single

20   point of contact, or "SPOC." Specifically, "upon request from a borrower who requests a
21
     foreclosure prevention alternative, the ... servicer shall promptly establish a
22
     [SPOC]"39 and provide borrower with a "direct means of communication" with that
23
     SPOC. In Plaintiff's case, Defendant SPS made his SPOC unreachable or others
24

25   stated that there was "nothing to communicate" and/or messages went unanswered

26   altogether.
27

28




                    VERIFIEO COMPLAINT FOR OECLARATORY JUOGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.26 Page 26 of 53



                                 "Dual-Tracking" Violations
 1

 2            60.        In addition to perform the mandated outreach and communication

 3   required by law, the Defendants engaged in dual tracking Plaintiff by evaluating Plaintiff
 4
     for a modification while simultaneously proceeding with a foreclosure upon Plaintiff.
 5
     Plaintiff submitted a complete loan modification application on three separate
 6

 7
     occasions, to no avail.

 8          61.       The amount and terms of the trial modification plan offered to Plaintiff did

 9   not comport to the amount and terms stated in writing. And on more than one occasion
10
     Defendant SMS sent via facsimile significantly higher every time provided in writing.
11
     HBOR prohibits the servicer from "recording" an NOD or NTS, or "conducting" a
12

13   foreclosure sale. In Plaintiff's case, Defendant SPS violated and did all of the above. A

14   contemporary illustration of Defendant SPS's dual-tracking Plaintiff with reckless
15
     disregard for HBOR legislative rules
16
            62.       Dual tracking protections require Defendant SPS to postpone or cancel
17
     an impending sale, regardless of the exact statutory language. See Singh v. Wells
18

19   Fargo Bank, N.A., No. 34-2013-00151461. There is no departures in case law relevant

20   to this issue.
21
              63.     Regardless of whether Defendant BOA instructs Defendant SPS or
22
     Quality Home Servicing Corporation (subsidiary of BOA) to cancel the Trustee Sale
23

24
     scheduled for May 12, 2016, or [if I postponing a sale. It is nonetheless considered

25   "conducting" a sale. Plaintiff seeks injunctive relief based on dual tracking claims as [itl

26   is still possible when a scheduled sale has been postponed. Plaintiff has Dual-Tracking
27
     protections under HBOR that Defendant SPS have violated with impunity.
28



                      VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.27 Page 27 of 53



               64.    Defendants BOA and SMS may not avoid HBOR liability in this case.
 1

 2   Even more libelous for Defendants BOA and SMS in denying Plaintiffs application for

 3   modification five (5) days before the scheduled Trustee Sale. Defendants BOA and
 4
     SPS did not wait for the appeal period to pass (or process Plaintiff's appeal) before
 5
     proceeding with foreclosure in this case. In patent violation of HBOR.
 6

 7
                65. Defendant SPS offered loan modification, however, did not inform

 8   Plaintiff by letter until weeks after the date indicated on the letter. Defendant SPS

 9   failed to provide meaningful notice that they were offering modification until after the 14
10
     days had expired. Defendants SPS gave no time for Plaintiff to reject or accept the
11
     offer, before Defendant SPS proceeded anyways with foreclosure. Plaintiff's application
12

13   was denied without providing Plaintiff a chance to accept or reject the offer., or explain

14   Plaintiff's appeal rights or give a specific reason for the investor-based denial or
15
     description of the foreclosure alternatives still available to Plaintiff. Plaintiff was denied
16
     due process of law with regard to the modification process altogether.
17
             66.     Further, Defendant SPS could not lawfully proceed with the foreclosure
18

19   until thirty-one (31) days after denying Plaintiff's application, in writing, or 15 days after

20   denying Plaintiff's appeal. Defendant SPS is prohibited from charging borrowers late
21
     fees during either the application or appeal processes. HBOR creates a procedural
22
     framework for requiring a decision on pending loan modification applications before
23

24
     initiating or proceeding with a foreclosure. Defendant SPS falsely claims that

25   documents were not received, Defendant SPS's assertion that an application was

26   incomplete is false and misleading, and a feral attempt to escape dual tracking liability.
27

28



                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.28 Page 28 of 53



             67.     Pursuant tD HBOR, alDan servicer may not record an NOD as long as
 1

 2   the borrower remains compliant with an approved loss mitigation plan. If a plan is

 3   approved after an NOD is recorded, a servicer may not proceed with the foreclosure
 4
     process as long as the borrower is plan-compliant. The servicer must also rescind the
 5
     NOD and cancel a pending sale.
 6

 7
                           The Dodd-Frank Act & Consumer Financial
                        Protection Bureau's (CFPB) New "Servicing Rules"
 8
              68.      The Dodd-Frank Act and CFPB amended the existing federal
 9

10   framework provided by the Real Estate Settlement and Procedures Act (RESPA) and

11   the Truth in Lending Act (TtLA), and became effective January 10, 2014.
12
              69.      Plaintiff alleges RESPA violations against all Defendants, each of
13
     them, for the conduct occurring after January 10, 2014, but related to Plaintiffs
14
     completed modification application submitted before January 10, 2014. Plaintiff brings
15

16   RESPA claims under the new rules (for servicer conduct occurring after January 1Q,

17   2014), and claims under HBOR for Injunctive Relief.
18
            70.     Plaintiff has endured a never ending cycle of frustration and confusion
19
     concerning the servicing practices of Defendant SPS, furthermore, have failed to
20
     appropriately and timely apply payments, assessed unwarranted fees, failed to timely
21
     respond to loan modification requests, and wrongfully denied a loan modification
22
     requests. Plaintiff has been tossed from one representative to another every time he
23
     was seeking information concerning the status of loss mitigation. Given the foregoing
24
     and the lack of good faith effort on Defendant SPS's part to assist Plaintiff, instead
25
     operating in a manner that is contrary to mandates issued by regulatory agencies and
26
     this court for prudent and fair servicing practices.
27

28




                    VERIFIED CDMPLAINT FDR DECLARATDRY JUDGEMENT AND INJUNCTIVE RELIEF
      Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.29 Page 29 of 53



                                     Assignments of the Deed of Trust
 1

 2              71.         Only the holder of the beneficial interest may substitute a new

 3    trustee, assign the loan, or take action in the foreclosure process. A beneficiary's
 4
      assignee must obtain an assignment of the deed oftruslbefore moving forward with
 5
      the foreclosure process. While foreclosing entities have always required the authority to "
 6"

 7
      foreclose, HBOR codified this requirement in Civil Code Section 2924(a)(6).114 Both

 8    before and after HBOR, courts have allowed wrongful foreclosure claims. Plaintiff

 9    hereby asserts standing and alleges that the lender is not the current beneficiary under
10
      the deed of trust.
11
                                        FIRST CAUSE OF ACTION
12
                                      FRAUDULENT FORECLOSURE
13                                        [Against All DefendantsJ

14                    72.     Plaintiff incorporates herein by reference the allegations made in
15
      paragraphs 1 through 71, inclusive, as though fully set forth herein.
16
                      73.      Defendants SPS employees regularly lied to Plaintiff in his
17
      endeavor seeking loan modification, denied Plaintiff's applications for made up
18

19    reasons, and Defendant BOA's loan servicing agents defendant SPS were rewarded

20    for sending homeowners into foreclosures. This fact has been established by sworn
21
      statements by former Defendant BOA employees under penalty of perjury.
22

23                     74.      In another recent case against BOA Five of Defendant BOA's

24    employees stated that they were encouraged to mislead customers. "We were told to
25
      lie to customers and claim that Bank of America had not received documents it had
26
      requested," said Simone Gordon, who worked for Defendant BOA from 2007 until early
27
      2012 as a senior collector, "We were told that admitting that the Bank received
28




                      VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.30 Page 30 of 53



     documents 'would open a can of worms,'" she said, since the bank was required to
 1

 2   underwrite applications within 30 days of receiving documents and didn't have

 3   adequate staff. Wilson said each underwriter commonly had 400 outstanding
 4
     applications awaiting review. Anxious homeowners like Plaintiff caliingin for an update
 5
     on their application were frequently told that their applications were "under review"
 6
     when, in fact, nothing had been done in months, or the application had already been
 7

 8   denied.

 9

10
            75.        Defendant BOA employees were rewarded for denying applications and

     referring customers to foreclosure, In fact, Defendant BOA collectors "who placed ten
11
     or more accounts into foreclosure in a given month received a $500 bonus." Other
12
     rewards induded gift cards to retail stores or restaurants.
13

14             76.     Plaintiff is informed and believes and thereon alleges that after the

15   origination and funding of Plaintiff's Loan, it was sold or transferred to trust investors

16   Defendant DBTe who did not own the loan or the corres""pond'lng note at any time

17   during default. Moreover, Defendant SPS was not lawfully appointed as trustee by

18   Defendant DBTC and DOES 1 through 10. Accordingly, none of the Defendants named

19   herein in this action had the right to declare default, cause notices of default to be

20   issued or recorded, or foreclose on Plaintiff's interest in the Subject Property. None of

21   the Defendants in this action was the note holder or a beneficiary of Plaintiff's Loan at

22   the time of foreclosure.
23       77.         Plaintiff further alleges on information and belief that none of the

24   Defendants in this action were beneficiaries or representatives of the beneficiary, That
25
     is, none of them were assigned the Note by Deed of Trust executed by Plaintiff. All
26
     documents upon which the NOD was based were invalid and void as well.
27

28



                       VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.31 Page 31 of 53



         78.     Defendants BOA,DBTC and SPS further breached the provisions of Civil
 1

 2   Code Section 2924g(c)(1) which requires postponement of a foreclosure sale by

 3   "mutual agreement, whether oral or in writing, of any trustor and any beneficiary."
 4
          79.      DOES 1 through 10 breached Sections 2924f and 2924gby not provIding
 5
     proper notice of the postponement of the trustee's sale on October 21, 2009, and not
 6
     providing notice pursuant to the strict requirements of said code sections.
 7

 8        80.       Additionally, Defendants BOA breached the SPA by failing to review the

 9   financial information of Plaintiff and negotiate a loan modification with Plaintiff in good
10
     faith. Plaintiff is informed and believes that Defendants BOA and DOES 1 through 10
11
     received a substantial amount of TARP funds from the federal government, a condition
12

13   of which was that Defendant BOA and DOES 1 through 10 was required to comply with

14   the provisions of the SPA. As US Bank, Wells Fargo and DOES 1 through 10 breached
15
     their obligations not to foreclose during the review period, the trustee's deed upon sale
16
     was issued in violation of the SPA and is void.
17
          81.    Defendants violated California Civil Code §2923.5(a), which requires a
18

19        "mortgagee, beneficiary or authorized agent" to "contact the borrower or person by

20   telephone in order to assess the borrower's financial situation and explore options for
21
     the borrower to avoid foreclosure. "Section 2923.5(b) requires a default notice to
22
     include a declaration "from the mortgagee, beneficiary, or authorized agent" of
23
     compliance with section 2923.5, including attempt "with due diligence to contact the
24

25   borrower as required by this section." None of the Defendants assessed Plaintiff's

26   financial situation correctly or in good faith prior to filing the Notices of Default against
27

28




                  . VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.32 Page 32 of 53



     the Subject Property in this action. Additionally, the declaration was executed on behalf
 1

 2   of a corporation that was not in existence at the time of the declaration.

 3       82.         Also, the declaration did not satisfy the requirements of Section 2923.5.
 4
     Accordingly, the
 5
         83.         Defendants did not fulfill their legal obligation to Plaintiff prior to filing of the
 6

 7
     Notices of Default and, therefore, any acts based on the Notice of Default taken

 8   thereafter were invalid and void.

 9       84.      Consequently, Defendants engaged in a fraudulent foreclosure ill the Subject
10
     Property in that Defendants did not have the legal authority to foreclose on the Subject
11
     Property and, alternatively, if they had the legal authority, they failed to comply with
12

13   Civil Code Sections 2923.5 and 2923.6.

14             85.       As a result of the above-described fraudulent conduct by Defendants,
15
     each of them, Plaintiff has suffered general and special damages in an amount
16
     according to proof at trial, but not less than $600,000.00.
17
                                      SECOND CAUSE OF ACTiON
18
                                    VIOLATION OF THE RICO ACT
19                          [Against All Defendants and DOE ENTITIES 1-10]

20          86.       Plaintiff incorporates herein by reference the allegations made in
21
     paragraphs 1 through 85, inclusive, as though fully set forth herein.
22
            89.        Defendants BOA, DBTC and $P$ are persons within the meaning of Title
23
     18 United States Code section 1961 (3). At all relevant times, in violation of Title 18
24

25   United States Code, section 1962(c), Defendants, conducted the affairs of an

26   association-in-fact enterprise, as that term is defined in Title 18 United States Code
27
     section 1961 (4). The affairs of this enterprise affected interstate commerce through a
28




                       VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.33 Page 33 of 53



     pal:t.em ·orracketeeringactivity. Defendants SOA's enterprise is an .ong.oing, .c.ontinuing .
 1

 2   group or unit of persons and entities associated together for the common purpose of

 3   limiting costs and maximizing profits by fraudulently charging unauthorized and
 4
     unlawful loan servicing fees onto Plaintiff's account, then concealing assessments for
 5
     unlawfully marked-up andlor unnecessary fees for default-related services.
 6

 7
            90.   While Defendants Defendants BOA, participate in and are part of the

 8   enterprise, they also have an existence separate and distinct from the enterprise.

 9                                       The Predicate Acts {RICO}
                                                                                                  j
10

11
            91.    Pefen9?nts' sYstem?tic sci1eme to fr?!J9!Jlently conce?l ?ssessffiE':!ntS of
     unlawfully marked-up fees on the account of Plaintiff who has his mortgage loan
12
     serviced by Defendant Sf'S, as described above, which was facilitated by the use of
13
     the United States Mail and wire, constitutes"racketeering activity" within the meaning of
14
     Title IS United States Code section 1961(1) as acts of mail fraud and wire fraud under
15
     Title IS United States Code sections 1341 and 1343.
16
            92.    In violation otTitle IS United States Code sections 1341 and 1343,
17
     Defendant BOA utitized the mail and wire in furtheran'Ce if, theirs'Cheme to tlefral1t1
18
     Plaintiff whose loan is serviced by Chase by obtaining money from Plaintiff using false
19
     or fraudulent pretenses.
20
            93.    Through the mail and wire, Defendant BOA's enterprises provided
21
     mortgage invoices, loan statements, or proofs of claims to Plaintiff, demanding that
22
     Plaintiff pay fraudulently concealed marked-up and/of unnecessarj fees for default
23
     related services, such as BPOs. Defendants fraudulently and unlawfully marked-up
24
     fees in violation of Plaintiff's mortgage agreements because the fees exceed the actual
25
     cost of the services, and therefore, they are not, as the mortgage agreements require,
26
     "reasonable" or "appropriate" to protect the note holder's interest in the property.
27
     Defendants' assessment of fees that were UllIle"vessary are also un1awfulbecause
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.34 Page 34 of 53



 1     unnecessary fees are not, as the mortgage agreements require, "reasonable" or

 2     "appropriate" to protect the note holder's interest in the property. The mortgage
 3     invoices, loan statements provided to Plaintiff fraudulently concealed the true nature of

 4     assessments made on Plaintiff's account. Using false pretenses, identifying the fees
 5     interest in the property. Defendants BOA's assessment of fees that were unnecessary

 6     are also unlawful because unnecessary fees are not, as the mortgage agreements
 7     require, "reasonable" or "appropriate" to protect the note holder's interest in the

 8     property.
 9            94.    The mortgage invoices, loan statements provided to Plaintiff fraudulently

10     concealed the true nature of assessments made on Plaintiff's account. Using false
11     pretenses, identifying the fees on mortgage invoices,loan statements,       or proofs Of
12     claims only as "Other Charges," "Other Fees," "Miscellaneous Fees," or "Corporate

13     Advances" to obtain full payments from Plaintiff, Defendants disguised the true nature
14     of these fees and omitted the fact that the fees include undisclosed mark-ups and/or

15     were unnecessary.
1695.                Furthermore, to lull Plaintiff into a sense of trust, conceal D'efendants'
17     unlawful fees, and dissuade Plaintiff from challenging Defendants BOA's unlawful fee

18     assessments, Defendants BOA further concealed their scheme from Plaintiff by telling
19     him in statements and other documents, that such fees n mortgage invoices, loan

20     statements, or proofs of claims only as "Other Charges," "Other Fees," "Miscellaneous
21 .   Fees," or "Corporate Advances"toobtatn full payments from Plaintiff, Defendants

22     disguised the true nature of these fees and omitted the fact that the fees include

23     undisclosed mark-ups and/or were unnecessary.
24            96.    Furthermore, to lull Plaintiff into a sense of trust conceal Defendants
25     BOA's unlawful fees, and dissuaded Plaintiff from challenging Defendants BOA's

26     unlawful fee assessments, Defendants BOA further c~n()ealed their scheme from
27     Plaintiff by telling him, in instatements and other documents, that such fees are

28



                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.35 Page 35 of 53



 1   "allowed by [Plaintiffs'] Note and Security Instrument," or that they are "li]n accordance
 2   with the terms of Plaintiff's mortgage, "
 3          97.      Each of these acts constituted an act of mail fraud for purposes of Title 18

 4   United States Code section     1341 Additionally, wiling the Internet, tel'Whone, and
 5   facsimile transmissions to fraudulently communicate false information about these fees
 6   to Plaintiff, to pursue and achieve their fraudulent scheme, Oefendants BOA engaged
 7   in repeated acts of wire fraud in violation of Title 18 United States Code
 8   section 1343.
 9          98.      In an effort to pursue their fraudulent scheme, Defendants BOA knowingly
10   and fraudulently concealed or omitted material information from Plaintiff Defendants'
11   knowledge that their activities were fraudulent and unlawful is evidenced by the fact
12   that they did not disclose the mark-ups and/or unnecessary nature of the fees in their
13   communications to Plaintiff
14          99.      The predicate acts specified above constitute a "pattern of racketeering
15   activity" within the meaning otTitle 18 United States Code section 1961(5) in which
16   Defendants BOA have engaged in under Title 18 United States Code section 1962(c).
17   All of the predicate acts of racketeering activity described herein are part of the nexus
18   18 of the affairs and functions of the Chase racketeering enterprises,
19          100.     The pattern of racketeering activity is currently ongoing and open-ended,
20   and threatens to continue indefinitely unless this Court enjoins the racketeering activity.
21          101.     Numerous schemes have been completed involving repeated unlawful
22   conduct that by its nature, projects into the future with a threat of repetition.
23          102.     As a direct and proximate result of these violations of Title 18 United
24   States Code sections I 962( c) and (d), Plaintiff has suffered substantial damages.
25   Defendants are liable to Plaintiff for treble damages, together with all costs of this
26   action, plus reasonable attorney's fees, as provided under Title 18 United States Gode
27   section 1964(c).
28




                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.36 Page 36 of 53



 1        Violation of Title 18 United States Code section 19S2(c) (ill U.S.t. § 19S2(d).
 2            103.   . Plaintiff incorporates by reference in this cause of action each and every
 3     allegations of the preceding paragraphs, with the same force and effect as though fully
 4     set forth .herein. As set forth above, in violation of Title 18 United States Code section
 5     28 1962(d), Defendants conspired to violate the provisions otTitle 18 United States
 6     Code section 1962{c).
 7            104.   As set forth above, in violation of Title 18 United States Code section
 8     1962(d), Defendants conspired to violate the provisions otTitle 18 United States Code

 9 .   section 1962(c).
10            105.   As a direct and proximate result, Plaintiff has been injured in their
11     business or property by the predicate acts which make up Defendarri.s 'BOA"pauerns of
12     racketeering activity in that unlawfully marked-up and/or unnecessary fees for default-
13     related services were assessed on their mortgage accounts.
14
                                       THIRD CAUSE OF ACTION
15
                                             QUIET TITLE
16          [Against AI! Defendants, and All Persons Unknown, Claiming Any Legal Or
                 . Equitable Right, Title, Estate, Lien, Or Interest In The Property
17          Described In The Complaint Adverse To Plaintiff's Title Or Any Cloud On
                     Plaintiff's Title Thereto and DOE ENTITieS 1 through 10j
18

19            106.    Plaintiff incorporates herein by reference the allegations made in

20     paragraphs 1 through 105, inclusive, as though fully set forth herein.
21
              107.   Plaintiff is the legal owner of the Subject Property.
22
              108.   Plaintiff s.eeks. to quiet title against the claims. of US Bank, Wens Fargo,
23

24
       and anyone else claiming interest in the property, and any successors or assignees

25     have no right to title or interest in the property and no right to entertain any rights of
26     ownership Including rights of possession.
27

28



                      VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.37 Page 37 of 53



            107.   Plaintiff seeks to quiet title seeks a judicia! declaration that the title to the
 1

 2   Subject Property is vested in Plaintiff alone and that Defendants, each of them ,be

 3   declared to have no interest estate, right, title or interest in the Subject Property and
 4
     that Defendants, their agents and assigns, be forever enj()ined from asserting any
 5
     estate, right title or interest in the Subject Property.   As Defendants did not have any
 6
     legal ownership or interest in the Subject Property on the date offoreclosure, allegedly
 7

 8   obtained the Subject Property through fraud and unlawful conduct, and failed to

 9   adhere to the strict statutory requirements to effectuate the foreclosure sale of the
10
     Subject Property, the foreclosure sale was void and invalid. Therefore, the Subject
11
     Property is Plaintiff's property.
12

13        108.      Accordingly, the Court should rule that the Subject Property remains

14   Plaintiff's property and award consequential damages as proven at trial, but not less
15
     than $600,000,000.
16
                                     FOURTH CAUSE OF ACTION
17                                       SLANDER OF TITLE
                                       {Against AU Defendants]
18

19        109.      Plaintiff incorporates herein by reference the allegations made in

20   paragraphs 1 through 108, inclusive, as though fully set forth herein.
21
          110.      Defendants, each of them, and Doe Entities 1 through 10, purportedly but
22
     falsely acting as either the trustee or the agent of the beneficiary of the Deed of Trust,
23
     wrongfully and without privilege, caused a Notice of Default, Substitution of Trustee,
24

25   and Assignment of Deed of Trust to be recorded against the Subject Property.

26   Thereafter, Defendants, each of them, and Doe Entities 1 through 10, again
27
     purportedly but falsely acting as either the trustee or the agent of the beneficiary of the
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.38 Page 38 of 53



     Deed of Trust, wrongfully and without privilege, caused Notices of Trustee's Sales to be
 1

 2   recorded against the Subject Property.

 3       111.      Finally, Defendants, each of them, and Doe Entities 1 through 10, again
 4
     purportedly but falsely acting as either the trustee or the agent of the beneficiary of the
 5
     Deed of Trust, wrongfully and without privilege, caused a Trustee's Deed Upon Sale to
 6

 7
     be recorded against the Subject Property.

 8       112.      None of the Defendants, whether jointly or severally, is a trustee,

 9   beneficiary or assign€€ of any benef~ciary of any Deed of Trust recoH:lsd against the
10
     Subject Property.
11
         113.      Accordingly, they wrongfully caused the recording of the Notice of Default,
12
13   ASSIgnment of the Deed of Trust, SubstitutIon of Trustee, NotIces of Trustee's Sales

14   and Trustee's Deed Upon Sale against the Subject Property.
15
          114.     By doing the acts described above, Defendants slandered Plaintiff's title
16
     to the Subject Property.
17
          115.     In that the conduct and acts of Defendants violated, among others,
18

19   California Civil Code section 2924(a)(1)(C), such conduct and acts were not privileged.

20   The wrongful conduct of Defendants caused Plaintiff to suffer damages in an amount to
21
     be proven at trial, but not less than $1,000,000.00.
22
                                  FIFTH CAUSE OF ACTION
23                  CANCELLATION OF FIVEM RECORDED INTRUMENTS
             (1) Substitution of Trustee; (2) Notice of Default (3) Assignments
24
         of Oeed of Trust; (4) Substitution of Trustee; and (5~ Notice of Trustee $a!e
25
          116.   Plaintiff incorporates herein by reference the allegations made in
26

27
     paragraphs 1 through 115, inclusive, as though fully set forth herein.

28




                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.39 Page 39 of 53



          117.     Jf the \1V!ongfuUy recorded SOT, "l\IOD, ".l\.ssjgnrnent of DOT, -F1rst .NOTS,
 1

 2   Second NOTS instruments are left outstanding, Plaintiff will continue to suffer loss and

 3   damages.
 4
          W8.      Plaintiff therefore seeks cancellation of these recorded instruments.
 5
          119.     Plaintiff is informed and believes, and therefore alleges, that Defendants,
 6

 7
     each of them, and DOES 1 through 10 acted willfully and with a conscious disregard

 8   for Plaintiff's rights and with a specific intent to defraud and injure Plaintiff, by causing

 9   these instruments to he prepared and recorded without a factual or legal Oasis for
10
     doing so.
11
          120.     Upon information and belief, these acts by Defendants constitute fraud,
12

13        oppression and malice under Cal. Civil Code §3294. Defendants acted with a

14   conscious disregard for the requirements to conduct a non-judicial foreclosure sale
15
     under civil code 2924 et sec. knowing they had taken a calculated risk that Plaintiff
16
     would not contest.
17
          121.     By virtue of Defendants, each of them and Doe Entities 1 through 10,
18

19   willful and fraudulent conduct as herein alleged above, Plaintiff is entitled to general

20   and special damages according to proof at trial, but not less than $600,000,000, as well
21
     as tremble, punitive and exemplary damages as determined by this Court.
22
                                SIXTH CAUSE OF ACTION
23                              PROMISSORY ESTOPPEL
          (Against Defendants BOA, QHL,DBT, SPS and DOE ENTITIES 1 through 10)
24

25
          122.     Plaintiff incorporates herein by reference the allegations made in
26

27
     paragraphs 1 through 121, inclusive, as though fully set forth herein.

28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.40 Page 40 of 53



          123.      Defendants, each of them and Doe Entities 1 through 10 made a promise,
 1

 2   through oral and written representations, that they would not foreclosure on the Subject

 3   Property if Plaintiff's completed an application for a loan modification and made
 4
     monthly payments in an amount certain to Defendants SPS. Defendants, each ofthem
 5
     and Doe Entities 1 through 10 should have reasonably expected that Plaintiff would
 6
     rely on such promise;
 7

 8        124.      Plaintiff did in fact justifiably rely on that promise by completing the

 9   application and making payments rather than pursuing alternate measures to avoid the
10
     foreclosure sale including, but not limited to, the filing of a Chapter 7 bankruptcy.
11
     Additionally, Plaintiff could have explored the possibility of refinancing or marketing and
12

13   selling the Subject Property, either of which would have been an option as the property

14   was generating income for Plaintiff. Accordingly, Defendants, each of them and Doe
15
     Entities 1 through 10 were estopped from taking any action that was contrary to the
16
     written and oral promises made by it to Plaintiff.
17
          125.      Additionally,pufsU,....'lt to the SPA and +-lAMP, Defendants, '€ach of them
18

19   and Doe Entities 1 through 10 promised to suspend all pending foreclosure

20   proceedings until he HAMP analysis was complete for all homeowners, including
21
     Plaintiff. Plaintiff is a third party beneficiary of this agreement.
22
          126.      Defendants, each of them and Doe Entities 1 throuah 10
23
          agreement with the federal govemment of which Plaintiff is a third party
24

25   beneficiary.

26

27

28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.41 Page 41 of 53



          127,       Accordingly, Defendants, each of them and Doe Entities 1 through 10
 1

 2   should be estopped from claiming any benefit from the foreclosure due to its violation

 3   of the SPA
 4
          128,       As a result of 0 Defendants, each of them and Doe Entities 1 through
 5
     10's false promises and misrepresentations, Plaintiff suffered special and general
 6

 7
     damages in an amount according to proof at trial, but not less than $600,000,00,

 8                                 SEVENTH CAUSE OF ACTION
                                          NEGLIGENCE
 9
                         [(Against AU Oafsndantsand DOE ENTITIES 1=10)
10

11        129, Plaintiff incorporates herein by reference the allegations made in paragraphs
12
     1 through 128 inclusive, as though fully set forth herein,
13
          130,       At all times relevant herein, Defendants, each of them and Doe Entities 1
14
     through 10 acting as Plaintiff's lenders and/or servicers, had a duty to exercise
15

16   reasonable care and skill to maintain proper and accurate loan records and to

17   discharge and fulfill the other incidents attendant to the maintenance, accounting and
18
     servicing of loan records, including, but not limited, disclosing to Plaintiff the status of
19
     any foreclosure actions taken by it, disclosing who owned Plaintiff's Loan to Plaintiff,
20
     refraining from taking any action against Plaintiff that it did not have the legal authority
21

22   to do, and providing all relevant information regarding the Loan Plaintiff had with them

23   to Plaintiff,
24
          131.       In taking the actions alleged above, and in failing to take the actions as
25
     alleged above, Defendants, each of them and Doe Entities 1 through 10 breached their
26

27
     duty of ordinary care and skill to Plaintiff in the servicing of Plaintiff's loans by, among

28   other things, fa1l1ng to disclose to Plaintllf that it was foreclosing on Plaintiff's Subject



                     VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.42 Page 42 of 53



     Property while telling him the opposite, treating mortgages as a separate entity to
 1

 2   confuse and mislead Plaintiff, preparing and recording false documents, and

 3   foreclosing on the Subject Property without having the legal authority and/or proper
 4
     documentation to do so.
 5
          132.     At all times relevant herein, Defendants, each of them and Doe Entities 1
 6

 7
     through 10 acting as the alleged trustee under the DOT, but without the legal authority

 8   to do so, had a duty to exercise reasonable care and to follow California law with

 9   regard to foreclosures, avoid any conflicts of interest in exercising its duties, and refrain
10
     from taking any action against Plaintiff that it did not have the legal authority to do.
11
          133.     In taking the actions alleged above, and in failing to take the actions as
12

13   alleged above, Defendants, each ofthem and Doe Entities 1 through 10 breached fts

14   duty of care and skill to Plaintiff by failing to properly train and supervise its agents and
15
     employees with regard to California law regarding the execution and recording of
16
     foreclosure documents; executing the SOT, NOD, Assignment of DOT, First NOS,
17
     Second NOS and TDUS without the legal authority to do so; failing to follow CaHfomia
18

19   law with regard to foreclosures, including, but not limited to, acting as the trustee under

20   the DOT when it did not have the legal authority to do so; and taking actions against
21
     Plaintiff that it did not have the legal authority to do.
22
          134.      As a direct and proximate result of the negligence and carelessness of
23

24
     Defendants, each of them and Doe Entities 1 through 10 as set forth above, Plaintiff

25   suffered, and continues to suffer, general and special damages in an amount to be

26   determined at trial, but not less than $6000,000.
27

28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.43 Page 43 of 53



                              E1EGTH .CAUSE OF ACTION
 1
                             (Negligent Misrepresentation)
 2    (Against Defendants Defendants, each of them and Doe Entities 1 through 10)

 3         135. Plaintiff incorporates herein by reference the allegations made in paragraphs
 4
     , through 134, inclusive, as though fully set forth herein.
 5
           136. Defendants, each ofthem and Doe Entities 1 through 10 made
 6

 7
     representations to Plaintiff that they would postpone the foreclosure sale of the Subject

 8   Property if Plaintiff completed an application for a loan modification and made monthly

 9   payments in an amount certain to them.
10
           133.    Defendants, each of them and Doe Entities 1 through 10's .
11
     representations were not true. Defendants, each of them and Doe Entities 1 through
12

13   10.

14         134.    Defendants, each of them and Doe Entities 1 through 10 had no
15
     reasonable grounds for believing the representations were true when they made them.
16
           135.    Defendants, each of them and Doe Entities 1 through 10 intended that
17
     Plaintiff rely on the representations.
18

19         136.    Plaintiff reasonably and justifiably relied on the representations to his

20   detriment.
21
           137.    As a proximate result of Defendants, each of them and Doe Entities 1
22
     through 10's negligent conduct, Plaintiff has suffered, and will continue to suffer,
23

24
     general and special damages in an amount according to proof at trial, but not less than

25   $600,000.

26                                  NINTH CAUSE OF ACTiON
27
                                   FRAUD IN THE EXECUTION
                    [Against All Defendants and DOE ENTITIES 1 Through 10]
28




                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF


                                                                                                 I
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.44 Page 44 of 53



          138.      Plaintiff incorporates herein by reference the allegations made in
 1

 2   paragraphs 1 through 137, inclusive, as though fully set forth herein.

 3        139. Defendants, each of them and Doe Entities 1 through 10, orally and in
 4
     Defendants, each of them and Doe Entities 1 through 10 writing, represented to
 5
     Plaintiff that the Subject Property would not be foreclosed during the time that a loan
 6
 7
     modification was being reviewed and he made monthly payments. As set forth

 8       above, the oral representations were made by employees of Defendants SPS but

 9   represented themselves as being employed by defendants BOA.
10
          139.     Defendants, each of them and Doe Entities 1 through 10 failed to disclose
11
     to Plaintiff that they intended to foreclose on the DOT regardless of the agreement.
12

13   Furthermore, Defendants, each ofthem and Doe Entities 1 through 10 fraudulently

14   represented that they were separate entities so as to confuse and mislead Plaintiff into
15
     believing that Defendant Countywide was the loan servicer when the latter had cease
16
     to exist as a corporate entity years earlier.
17
          140.     The representations of Defendants, each of them and Doe Entities 1
18

19   through 10 were false and fraudulent as they caused a trustee's sale to be scheduled

20   on May12, 2016, without Plaintiff's knowledge. Although Plaintiff had numerous
21
     communications with Defendants, each of them and Doe Entities 1 through 10 prior to
22
     May 12, 2016, they never disclosed to Plaintiff that the Subject Property would be sold
23
     at a trustee's sale on May 12, 2016.
24

25        141.     Defendants, each of them and Doe Entities 1 through 10 intentionally

26   made the representations as part of their pattern and practice to deceive borrowers
27
     such as Plaintiff into relying to their detriment so that they could foreclose on homes
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.45 Page 45 of 53



     before borrowers could seek other remedies or options. The exact same thing
 1

 2   happened to Plaintiff. Plaintiff justifiably relied on the oral and written representations of

 3   Defendants, each of them and Doe Entities 1 through 10 that no foreclosure would take
 4
     place during the loan modification process and did not seek other remedies or pursue
 5
     other options during the process. As a proximate result of Defendants, each of them
 6

 7
     and Doe Entities 1 through 10's fraudulent misrepresentations, Plaintiff stands to his

 8   home and suffer great emotional distress.

 9
          142-. According~y! as a result of Defendants., each- of th@m. &'1d· Doe Entities-1
10
     through 10's fraudulent conduct, Plaintiff has suffered, and will continue to suffer,
11
     compensatory, general and special damages in an amount to proof, but not less than
12

13   $600,000.

14        143.     Additionally, Defendants, each of them and Doe Entities 1 through 10
15
     acted with malice, fraud and/or oppression and, thus, Plaintiff is entitled to an award of
16
     exemplary and punitive damages.
17
                                   TENTH CAUSE OF ACTIO~..I
18
                 VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
19                  [Against All Defendants and DOE ENTITIE51 Through 10]

20        144      Plaintiff incorporates herein by reference the allegations made in
21
     paragraphs 1 through 143 inclusive, as though fully set forth herein.
22
          142.     Plaintiff is a consumer and the obligation between the parties is a debt
23
     owed pursuant to the subject notes and trust deeds and is a consumer debt pursuant to
24

25   the Rosenthal Fair Debt Collection Practices Act ("Rosenthal Act").

26

27

28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
       Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.46 Page 46 of 53



 1

 2     and/or mortgage servicing companies and/or trustees that are in the business of

 3     collecting and processing mortgage payments.
 4
              144.       The representative of Defendants, each ofthem and Doe Entities 1
 5
       through 10 made false misrepresentations in connection with the debt secured by the
 6

 7
       DOT on the Subject Property. Specifically, Defendants, each of them and Doe Entities

 8 .   1 through 10 represented that if Plaintiff submitted an application for a loan modification
 9
       thcat t~~y _v~<?~I~ _not fore~_I<?se ?~ ~bi~ ?~~ject Property. This representation \rvas false
10
       and fraudulent as the trustee sale has not been postponed or canceled.
11
              145.      As a proximate result of U Defendants, each of them and Doe Entities 1
12

13     through 1O's violations of the Rosenthal Act, Plaintiff is entitled to actual and statutory

14     damages, attorney's fees and costs, and such other relief as the court determines is
15
       due.
16
                                           TENTH CAUSE OF ACTION
17                                       UNFAIR BUSINESS PRACTICES
                     (C"aUfo.rnia,~ai.isii1e$$':-&_ ,prQfe$$,ions   C;oc.le Section 17200,-, et -s,eq.J
18
                               [Against All OefendaritSandO()E ENTITIES 1-10]
19
              146.      Plaintiff incorporates herein by reference the aiiegations made in
20
       paragraphs 1 through 145 inclusive, as though fully set forth herein.
21

22

23            147.       California Business & Professions Code Section 17200, et seq., prohibits
24
       acts -of -unfa~r competition, which -means -and ·includes -any "fraudulent-business -act -or
25
       practice ... " and conduct which is "likely to deceive" and is "fraudulent" within the
2.6

27
       meaning of Section 17200.

28



                         VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.47 Page 47 of 53



         148.        As more fully described above, Defendants, each of them and Doe
 1

 2   Entities 1 through 10 acts and practices are likely to deceive, constituting a fraudulent

 3   business act or practice. This conduct is ongoing and continues to this date.
 4
         149.         Specifically, as fully set forth above, Defendants engage in deceptive
 5
     business practices with respect to mortgage loan servicing, assignments of notes and
 6

 7
     deeds of trust, foreclosure of residential properties and related matters by, among other

 8   things, and the following:

 9       (3)   lnst~-tuth1g   .improper or premature foreclosure proceedings to generate
10
     unwarranted fees;
11
         (b) Executing and recording false and misleading documents;
12

13       (c) Executing and recording documents without the legal authority to do so;

14       (d) Failing to disclose the principal for which documents were being executed
15
         and recorded in violation of California Civil Code Section 1095;
16
         (e) Failing to record Powers of Attorney in connection with other recorded
17
         documents in violation of California Civil Code. Section 29.33;
18

19       (f) Violating the Security First Rule;

20       (g) Demanding and accepting payments for debts that were non-existent;
21
         (h) Acting as beneficiaries and trustees without the legal authority to do so;
22
         (i) FailinQ to Qive proper notice of a trustee's sale and the postponement of the
23
         sale pursuant to California Civil Code Sections 2924g and 2924h;
24

25       Q) Failing to comply with California Civil Code Section 2923.5;

~6       (K) i=:aliing   to comply with the I:IAME. guideiines;
27
         (I) Misrepresenting the foreclosure status of properties to borrowers; and
28



                      VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF


                                                                                                 1
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.48 Page 48 of 53



          (m) Other deceptive business practices.
 1

 2        150.      Plaintiff alleges that by engaging in the above described acts and/or

 3   practices as alleged herein, Defendants have violated several California laws and
 4
     regulations and said predicate acts are therefore per se violations of California
 5
     Business and Professions Code section 17200, et seq.
 6

 7
          151. Plaintiff alleges that Defendants' misconduct, as alleged herein, gave, and

 8   have given, Defendants an unfair competitive advantage over their competitors. The

 9   scheme implemented by Defendants is designed to defraud California consumers and
10
     enrich the Defendants.
11
          152.     The foregOing acts and practices have caused substantial harm to
12

13   California consumers.

14        153.     Plaintiff alleges that as direct and proximate result of the aforementioned
15
     acts, Defendants have prospered and benefitted from Plaintiff by collecting mortgage
16
     payments and fees for foreclosure related services, and have been unjustly enriched
17
     from their act of foreclosing on Plaintiff's home 'when they had agreed not to do so
18

19   and/or to do so in compliance with applicable laws.

20        154.     By reason of the foregoing, Defendants have been unjustly enriched and
21
     should be required to disgorge their illicit profits and/or make restitution to Plaintiff and
22
     other California consumers who have been harmed, and/or be enjoined from continuing
23
     in such practices pursuant to California Business & Professions Code Sections 17203
24

25   and 17204. Moreover, as a result of the aforementioned acts and conduct, Plaintiff has

26   lost money and property and suffered injury in fact, and other members af tAe pubiic
27
     falling victim to Defendants' schemes are likely to be injured.
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.49 Page 49 of 53



         155.       The harm to Plaintiff and to members of the genera! public outweighs the
 1

 2   utility of Defendants' policy and practices. Consequently, their policy and practices

 3   constitute an unlawful business act or practice within the meaning of Business and
 4
     Professions Code §17200.
 5
         Further, the foregoing conduct threatens an incipient violation of a consumer law,
 6
     or violates the policy or spirit of such law or otherwise significantly threatens or harms
 7

 8   competition.

 9
         156.       Defendants' practices described above are likely to mislead the general
10
     public, and therefore, constitute a fraudulent business act of practice within the
11
     meaning of Business and Professions Code §17200. The Defendants' unfair, unlawful,
12

13   and fraudulent business practices and false and misleading advertising present a

14   continuing threat to members of public in that other consumers will be defrauded into
15
     having their property improperly sold at foreclosure. Plaintiff and other members of the
16
     general public have no other adequate remedy of law.
17
         157.       Plaintiff is theiefOie entitled to injunctive relief and attomey's fees as
18

19   available under California Business and Professions Code Sec. 17200 and related

20   sections. These acts and practices, as described in the previous paragraphs, are unfair
21
     and violate Busness and Professions Code § 17200 because their policies and
22
     practices described above violate all the statutes previously listed as well as California
23
     Civil Code § 1709, and consequently, constitute and unlawful business act of practice
24

25   within the meaning of Business and Professions Code §17200.

26       1.1
27
         /.I
28



                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.50 Page 50 of 53



 1

 2                             ELEVETH CAUSE OF ACTI08iN
                     DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
 3                     [Against All Defendants and DOE ENTITIES 1-10]
 4
          158.     Plaintiffs incorporate herein by reference the allegations made in
 5
     paragraphs 1 through 131, inclusive, as though fully set forth herein.
 6

 7
          159.     Defendants, each of them and Doe Entities 1 through 10 have taken

 8   actions in violation oft hi9ir statutory. legal andc;:ontractual duties. Said actions have

 9   resulted in the wrongful foreclosure of the Subject Property. An actual dispute exists
10
     between Plaintiff and Defendants, each of them and Doe Entities 1 through 10 as to the
11
     ownership of the Subject Property, and the validity, if any, and amount, if any, of the
12

13   liens that were on the Subject Property prior to foreclosure.

14        160.     Due to the dispute as to the rights and interests of the parties to the
15
     Subject Property, Plaintiff requests that the Court declare the rights of the. parties in this
16
     matter. Plaintiff requests that the Court enforce these rights with the issuance of
17
     injunctions Oi iestiaining oideiS as may be necessary to plaCe the partieS in thei;
18

19   proper position with respect to their interests, if any, in the Subject Property.

20

21
                                          PRAYER FOR RELIEF
22
          Wherefore, Plaintiff prays for judgment against the Defendants and each of them,
23
     jointly and severally, as follows:
24

25        1. For a declaration of the rights and duties of the parties, specifically that the

26        attempted foreclosure of the Subject Property was fraudulent.
27
          2. For a declaration that Plaintiff is the true and rightful owner of the Subject
28




                    VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.51 Page 51 of 53



          Property.
 1

 2        3. For issuance of an Order canceling the SOT, NOD, Assignment of DOT, First

 3        NOS, Second NOT,
 4
          4. For Judgment in favor of Plaintiff for Violation of RICO 18 US Section 1962(c}
 5
               5.        For quiet title in favor of Plaintiff and against Defendants, each of them and
 6

 7
     Doe Entities 1 through 10.

 8                  6.     For compensatory, special and general damages in an amount according
 9
     to proof at trial, but not less than $600,000,00 against all Defendants.
10
                    7. For punitive damages in an amount to be determined by the Court against
11
     all Defendants.
12

13              8 .. Pursuant to Business and Professions Code § 17203, that all Defendants,

14   their successors, agents, representatives, employees, and all persons who act in
15
     concert with them be permanently enjoined from committing any acts of unfair
16
     competition in violation of § 17200, including, but not limited to, the violations alleged
17
     herein.
18

19         9. For civil penalties pursuant to statute, restitution, injunctive relief and

20   reasonable attorney's fees according to proof.
21
         10. For reasonable attorney's fees and costs.
22
         11. For reasonable costs of suit and such other and further relief as the Court
23
     deems proper.                                       DATED: May 11, 2016
24



                                                         By:C4vLU~~
25

26

27                                                        ANDREW I<ARSIl  EARL
                                                             Ph:\intiff, In Pro PElr
28




                            VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND INJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.52 Page 52 of 53




 1

 2

 3                                 VERIFICATION OF COMPLAINT
 4
         i, ANDREW E. KARSH, am the plaintiff in the above-entitled action. \ have read
 5
     the foregoing complaint and know the contents thereof. The same is true of my own
 6
     knowledge, except as to those matters which are therein alleged on .information and
 7

 8   belief, and as to those matters, I believe them to be true.

 9

10
     that the foregoing is true and correct.
11
         Executed at EI Cajon, California this iii" day of May, 2016
12

13

14

15

16                                                  ANDREW FARL KARSH
                                                    Plaintiff, In Pro Per
17

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                   VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND lNJUNCTIVE RELIEF
     Case 3:16-cv-01129-MMA-BGS Document 1 Filed 05/11/16 PageID.53 Page 53 of 53



 1

 2

 3

 4

 5

 6

 7

 8

 9                                          JURY DEMAND
10
        Plaintiff demands jury trial for all causes of action set forth herein.
11

12

13      DATED: May 11, 2016



                                               By:(LL-U~
14

15

16                                                 ANDREW EARL KARSH
                                                   P!aintiff, !n Pro Per
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                  VERIFIED COMPLAINT FOR DECLARATORY JUDGEMENT AND iNJUNCTiVE REliEF
